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                                                                        FILED: July 6, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

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                                        No. 23-1123 (L)
                                  (3:17-cv-00072-NKM-JCH)
                                    ___________________

        ELIZABETH SINES; SETH WISPELWEY; MARISSA BLAIR; APRIL
        MUNIZ; MARCUS MARTIN; JOHN DOE; NATALIE ROMERO; CHELSEA
        ALVARADO; THOMAS BAKER

                    Plaintiffs - Appellees

         and

        TYLER MAGILL; HANNAH PEARCE

                    Plaintiffs

        v.

        JEFF SCHOEP

                    Defendant - Appellant

         and

        JASON KESSLER; RICHARD SPENCER; CHRISTOPHER CANTWELL;
        JAMES ALEX FIELDS, JR.; VANGUARD AMERICA; ANDREW ANGLIN;
        MOONBASE HOLDINGS, LLC.; ROBERT AZZMADOR RAY; NATHAN
        DAMIGO; ELLIOTT KLINE, a/k/a Eli Mosely; IDENTITY EVROPA;
        MATTHEW HEIMBACH; DAVID MATTHEW PARROTT, a/k/a Matthew
        Parrott; TRADITIONALIST WORKER PARTY; MICHAEL HILL; MICHAEL
        TUBBS; LEAGUE OF THE SOUTH; NATIONAL SOCIALIST MOVEMENT;
        NATIONALIST FRONT; AUGUSTUS SOL INVICTUS; FRATERNAL
        ORDER OF THE ALT-KNIGHTS; MICHAEL ENOCH PEINOVICH; LOYAL
        WHITE KNIGHTS OF THE KU KLUX KLAN; EAST COAST KNIGHTS OF
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        THE KU KLUX KLAN, a/k/a East Coast Knights of the True Invisible Empire

                    Defendants

                                    ___________________

                                         No. 23-1125
                                  (3:17-cv-00072-NKM-JCH)
                                    ___________________

        ELIZABETH SINES; SETH WISPELWEY; MARISSA BLAIR; APRIL
        MUNIZ; MARCUS MARTIN; JOHN DOE; NATALIE ROMERO; CHELSEA
        ALVARADO; THOMAS BAKER

                    Plaintiffs - Appellees

         and

        TYLER MAGILL; HANNAH PEARCE

                    Plaintiffs

        v.

        CHRISTOPHER CANTWELL

                    Defendant - Appellant

         and

        JASON KESSLER; RICHARD SPENCER; JAMES ALEX FIELDS, JR.;
        VANGUARD AMERICA; ANDREW ANGLIN; MOONBASE HOLDINGS,
        LLC.; ROBERT AZZMADOR RAY; NATHAN DAMIGO; ELLIOTT KLINE,
        a/k/a Eli Mosely; IDENTITY EVROPA; MATTHEW HEIMBACH; DAVID
        MATTHEW PARROTT, a/k/a Matthew Parrott; TRADITIONALIST WORKER
        PARTY; MICHAEL HILL; MICHAEL TUBBS; LEAGUE OF THE SOUTH;
        JEFF SCHOEP; NATIONAL SOCIALIST MOVEMENT; NATIONALIST
        FRONT; AUGUSTUS SOL INVICTUS; FRATERNAL ORDER OF THE ALT-
        KNIGHTS; MICHAEL ENOCH PEINOVICH; LOYAL WHITE KNIGHTS OF
        THE KU KLUX KLAN; EAST COAST KNIGHTS OF THE KU KLUX KLAN,
        a/k/a East Coast Knights of the True Invisible Empire
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                    Defendants

                                    ___________________

                                         ORDER
                                    ___________________

              The court consolidates Case Nos. 23-1123 and 23-1125.



                                            For the Court--By Direction

                                            /s/ Patricia S. Connor, Clerk
